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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

 MATTHEW BAHR on behalf of himself and all            )
 others similarly situated,                           )
                                                      )
                               Plaintiff,             )
                                                      )
                          v.                          )      No. 1:19-mc-00027-TWP-TAB
                                                      )
 STATE COLLECTION SERVICE, INC.,                      )
                                                      )
                               Defendant.             )

                                  ORDER REFERRING MOTION

        United States Magistrate Tim A. Baker is hereby designated pursuant to 28 U.S.C. §

 636(b)(1)(B) to issue a report and recommendation on the Motion of State Collection Service Inc.

 to Transfer to the Northern District of Illinois, or, Alternatively, to Quash or Modify Third-Party

 Subpoena to Ontario at Docket No. 1.

        IT IS SO ORDERED.


        Date:   3/20/2019
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